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                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA



 KRISTINA MALIMON,
 YEVGENIYA MALIMON

         Plaintiffs,                                Civil Action No.

 v.
                                                    COMPLAINT FOR DECLARATORY
 T-MOBILE                                           AND INJUNCTIVE RELIEF

         Defendant.




       PLAINTIFFS Kristina and Yevgeniya Malimon, by and through their counsel, van der

Veen, Hartshorn and Levin, by Bruce L. Castor, Jr. for their Complaint against T-Mobile,

state and allege as follows:

       1.       This is an action to protect the Plaintiffs from a Congressional subpoena (the

“subpoena”) that lacks a lawful purpose and seeks to invade the Plaintiffs’ constitutional rights

to privacy and to confidential political communications. The Plaintiffs are two private citizens

who were not involved in any federal government activities or programs. They have only one

apparent connection to the matter Congress claims to be investigating: they were present

outside the US Capitol Building on January 6, 2022 briefly at a peaceful, lawful, orderly and

patriotic assembly to promote First Amendment-protected speech. Despite this, the Plaintiffs

were charged with criminal offenses currently listed for trial in DC Superior Court on October 3,

2022. The Plaintiffs, one of who does not speak English did not know what was happening

when they were, literally, caught in a “net” of metal fencing within minutes of arrival. If

Congress wanted to know anything more about the Plaintiffs’ brief involvement with the



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    events it could have asked and so far has chosen not to do so. Instead, Congress pivoted to

    Defendant T-Mobile, their telecommunications carrier, to indiscriminately demand detailed

    information about their accounts, contacts, personal and political associates, and physical

    locations. The subpoena covered a three-month period that greatly exceeds the less than 10-

    minute window of time Plaintiffs were engaging in peaceable assembly on January 6, 2021

    before being arrested.

           2.      The subpoena was not issued by a validly constituted committee; is not

    pertinent to the matter Congress is purporting to investigate; does not pursue a legislative

    purpose; violatesthe Plaintiffs’ First and Fourth Amendment rights; and violates the Stored

    Communications Act, 18 U.S.C. § 2701, et seq. The Plaintiffs seek a judgment declaring that

    the subpoena invalid and enjoining Defendant, T-Mobile, from producing their data to the

    Select Committee.

                                              THE PARTIES

           3.      Plaintiffs Kristina Malimon and Yevgeniya Malimon (daughter and mother,

    respectively) are residents of Portland, Oregon. On June 2, 2022, they received notice from

    Defendant that Defendant was served with a subpoena for their cell phone records, attached

    hereto along with the transmittal letter as Exhibit A.1 The subpoena is dated May 17, 2022

    ordering production in person by Defendant to the Select Committee in Washington DC on

    May 31, 2022. Thus, by the time Plaintiffs received notice from Defendant of the issuance of

    the subpoena, the date by which the Select Committee required Defendant’s compliance had

    already passed, making compliance with the terms of the subpoena impossible on account of



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  The subpoena contained in Exhibit A appears to be missing one or more pages as received by Plaintiffs. Assuming
the subpoena itself is “Page 1” (not specified as such on its face), the remaining pages are marked “Page 3” and
“Page 4” which begs the question of what happened to “Page 2?”


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the subpoena being moot as expired. Plaintiffs are also presently criminal defendants in DC

Superior Court for the District of Columbia (“DC Superior Court”) with actions indexed at

2021 CMD 00195 (Kristina) and 2021 CMD 00156 (Yevgeniya) scheduled for trial on

October 3, 2022.

                               JURISDICTION AND VENUE

       4.       This case challenges the validity of a subpoena issued by a body calling itself

the Select Committee to Investigate the January 6th attack on the United States Capitol (the

“Select Committee”). It raises claims regarding the scope of the investigative power of

Congress under Article I of the United States Constitution, claims arising under the First,

Fourth, and Fourteenth Amendments of the United States Constitution, and claims arising

under the Stored Communication Act, 18 U.S.C. § 2701, et seq.

       5.       The Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 and §

1343. The Court has personal jurisdiction over Defendant T-Mobile because it has significant

contacts within the Eastern District of Pennsylvania, does substantial business there, markets

its products and services within the Eastern District, and has multiple physical places of

business in the Eastern District of Pennsylvania with at least 39 business locations in the City

of Philadelphia alone and dozens more throughout the entirety of the jurisdiction of the

Eastern District.

       6.       For the same reasons, this Court has personal jurisdiction, venue in this

Court is proper under 28 U.S.C. § 1391(b).

                             BACKGROUND ALLEGATIONS

       7.      On January 6, 2021, a group of protesters breached the Capitol grounds, entered

the Capitol.



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       8.      On June 30, 2021, the House of Representatives passed H. Res. 503 (the

“Resolution”), establishing “the Select Committee to Investigate the January 6th Attack on the

United States Capitol.” The Resolution was passed just two days after its introduction, with

just two Republican Members voting “yea.”

       9.      Under Section 2(a) of the Resolution creating the Select Committee, “the

Speaker shall appoint 13 Members to the Select Committee, 5 of whom shall be appointed

after consultation with the minority leader.” The Resolution also required that “[t]he Speaker

shall designate one Member to serve as chair of the Select Committee.” H. Res. 503 § 2(b),

117th Cong. (2021).

       10.     The Speaker appointed just nine Members to the Select Committee. The

Speaker did not appoint any Members in consultation with the House Minority Leader,

Representative Kevin McCarthy. Rather, the Speaker appointed just the same pair of

Republican Members who had voted for the Resolution. Not a single Member out of the nine

on the Select Committee had opposed the creation of the Committee.

       11.     The Speaker did not appoint a Ranking Member. The Select Committee does

not have a Ranking Member.

       12.     The Resolution enabling the Select Committee identifies a total of three

“purposes” for the Select Committee. They are: (1) to “investigate and report upon the facts,

circumstances, and causes relating to the January 6, 2021 domestic terrorist attack on the

United States Capitol Complex… and relating to the interference with the peaceful transfer of

power, including the facts and causes relating to the preparedness and response of [law

enforcement and other instrumentalities of government], as well as the influencing factors that

fomented such an attack…”; (2) to “examine and evaluate evidence developed by relevant




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Federal, state, and local government agencies regarding the facts and circumstances

surrounding the domestic terrorist attack on the Capitol and targeted violence and domestic

terrorism relevant to such terrorist attack”; and (3) to “build upon the investigations of other

entities and avoid unnecessary duplication of efforts by reviewing the investigations, findings,

conclusions, and recommendations of other [investigations] into the domestic terrorist attack

on the Capitol, including investigations into influencing factors related to such attack.”

       13.     The Resolution identifies a total of three “functions” of the Select Committee.

They are: (1) to “investigate the facts, circumstances, and causes relating to the domestic

terrorist attack on the Capitol”; (2) to “identify, review, and evaluate the causes of and the

lessons learned from the domestic terrorist attack on the Capitol regarding” various federal

governmental operations; and (3) to “issue a final report to the House containing such

findings, conclusions, and recommendations for corrective measures described in subsection

(c) as it may deem necessary.”

       14.     Subsection (c) of Section 4 describes three categories of “corrective measures”:

“changes in law, policy, procedures, rules, or regulations that could be taken” (1) “to prevent

future acts of violence, domestic terrorism, and domestic violent extremism, including acts

targeted at American democratic institutions”; (2) “to improve the security posture of the

United States Capitol Complex while preserving accessibility of the Capitol Complex for all

Americans”; and (3) “to strengthen the security and resilience of the United States and

American democratic institutions against violence, domestic terrorism, and domestic violent

extremism.”

       15.     The Select Committee has established a website that reports on its proceedings

and publishes statements by the Select Committee’s Speaker-designated Members—that is, the




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Select Committee’s only Members. See https://january6thhouse.gov/

       16.     The Select Committee held periodic meetings and, in fact, is scheduled to hold

“prime time” meetings during the week of June 6, 2022 even hiring expert television producers

to produce a “tv friendly” broadcast to showcase the Select Committee’s Democrat Speaker-

appointed members’ efforts to date.

       17.     The Select Committee’s Chairman wrote to over thirty telecommunications and

social media companies to demand that they preserve all meta data and content of their

customers’ communications, and that they not disclose the Chairman’s demand to their

customers because the Chairman did not want American citizens to know that the US

Government intended to invade their privacy at will. Upon information and belief, the

Plaintiffs’ accounts were included in this demand, because they are charged with crimes

arising out of the events of January 6, 2021.

       18.     Upon information and belief, at least some of the recipients of the letter,

includingT-Mobile, were required to copy account and content data in order to protect it from

automated deletion and comply with the Select Committee’s preservation demand presumably

on pain of Contempt of Congress.

       19.     On May 17, 2022, the Select Committee issued a subpoena to the Defendant for

the production of documents, though Plaintiffs did not know a subpoena had been issued until

Thursday June 2, 2022. Plaintiffs sought advice of undersigned counsel who began reviewing

the issue on Monday June 6, 2022. Defendant insisted via email that any objection to its

producing of information pursuant to the subpoena must be filed with the Court no later than

June 10, 2022 or Defendant would comply with the now outdated and moot subpoena.

Undersigned counsel emailed counsel for T-Mobile requesting a three-business day extension




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within which to file in objection. To date, counsel for T-Mobile has not responded to that

request.

       20.     The Select Committee has long had access to the results of a separate

investigation of the events of January 6 conducted by the Federal Bureau of Investigation.

That investigation focused on the individuals who actually breached the Capitol on January 6.

At no time has that investigation suggested that there was any centralized organization or

planning for the breach, that the Plaintiffs could conceivably have information about anyone

who performed that role, or that the Plaintiffs ever had contact with such a person. The Select

Committee already knows or should know that these Plaintiffs could not possibly have had

contact with individuals who planned or participated in the Capitol breach.

       21.     Since June 2021, the Select Committee claims to have interviewed 250

witnesses. See https://january6th.house.gov/news/press-releases/thompson-cheney-opening-

statements-rules-committee-meeting-0. In short, with respect to the Ellipse Rally, there can be

little if anything that is not known to the public or the Select Committee. That is certainly true

regarding any information the Plaintiffs may have.

       22.     Nonetheless, on or about May 17, 2022, the Select Committee issued a

subpoena to Defendant T-Mobile, demanding production of a mass of cell phone data for

Plaintiffs by 10:00 a.m. on May 31, 2022, something impossible to do now that the date has

passed, and Plaintiffs given untimely notice by Defendant on June 2, 2022.

       23.     The May 17 subpoena to T-Mobile—the only subpoena at issue here (Exhibit

A)— clearly covered a number of individuals. “Part A” of the Subpoena explains its scope.

“Part B” of the Subpoena apparently included the phone numbers of many T-Mobile customers

whose account data was being subpoenaed, and for that reason, T-Mobile did not transmit Part




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B to the account recipients.

       24.     According to Part A, the Select Committee seeks all subscriber information and

cellphone data associated with the Plaintiffs’ personal cell phone numbers. The subscriber

information requested includes subscriber names and contact information, authorized users,

time of service provided, account changes, associated IP addresses, and other metadata. The

cell phone data requested could include all calls, text messages, and other records of

communications associated with that phone number. This data can also be used for historic

cell site analysis. See Exhibit A.

       25.     Additionally, despite the fact that these Plaintiffs’ involvement with the Ellipse

Rally one day, January 6, 2021, the Select Committee sought their personal cell phone data for

three months: from November 1, 2020 to January 31, 2021. The Select Committee is well

aware that Plaintiffs cannot have had relevant communications this late or this early in time.

       26.     Assuming that dozens or perhaps hundreds of other individuals’ private data is

being sought with the same one-size-fits-all, multi-month request that fails to match the

specific relevance (if any) of a given individual to the investigation, the Select

Committee is clearly “fishing” for information in the hope of uncovering incriminating

evidence but without probable cause to believe relevant information will be found should

Defendant surrender Plaintiffs’ private data in response to the expired subpoena.

       27.     Instead, the Select Committee’s subpoena will yield data that will be used to

populate a massive database of the personal friends and political associates of not just

Plaintiffs, but everyone who has had any connection to the Trump campaign or other political

associations or vendors who worked with it. By analyzing data patterns in phone numbers,

length of calls, texts, and geolocation data, investigators can build a permanent nationwide




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model of intimate political associations and networks within the conservative movement that

has relevance far beyond “legislating” to deal with Capitol security, election integrity, or the

processes for certifying electoral votes. The billions of data points yielded can recreate not just

intimate relationships, but also locations and movements, creating a virtual CAT-scan of the

Select Committee’s political opposition, likely including even their own colleagues in the

House of Representatives.

          28.     This massive opposition research project dwarfs anything ever attempted or

conceived in the history of the Congress. It bears more similarity to a foreign intelligence

operation or a domestic criminal investigation than to a good-faith effort to secure the facts

needed to draft legislation or oversee an executive agency. The Select Committee has lost its

bearings.

                                       Count I
    (Subpoena Is Invalid Because the Select Committee Is Not Properly Constituted)

          29.     Plaintiffs repeat, re-allege, and incorporate the allegations in paragraphs 1–28

as if the same were set forth verbatim herein.

          30.     The power of authorized congressional committees to issue subpoenas arises

by implication from Article I of the Constitution. McGrain v. Daugherty, 273 U.S. 135, 174

(1927).

          31.     The Select Committee, however, is not an authorized congressional committee

because it fails to comport with its own authorizing resolution, House Resolution 503.

          32.     The Speaker of the House failed to appoint members consistent with the

authorizing resolution of the Select Committee. The Speaker has appointed only nine Members

of Congress to serve on the Select Committee; whereas the authorizing resolution instructs that

the Speaker “shall” appoint thirteen members. H. Res. 503 § 2(a), 117th Cong. (2021).



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        33.      Further, of those nine Members the Speaker has appointed, none of them was

appointed after consultation with the Minority Leader, as is required by Section 2(a) of the

authorizing resolution.

        34.      The composition and membership of a purported committee, including the

Select Committee, is material to its power to act. A committee’s composition and membership

can determine the direction of an inquiry and can serve to check, or temper committee actions

that could otherwise prove injurious to the operation of the government or the rights of private

citizens. A committee that, without any check exclusively serves the political purposes of one

political party or faction is susceptible to grave constitutional error and overreach.

        35.      Here, the Select Committee has embarked upon an investigation that began with

an inquiry into January 6th, but, in the absence of any tempering influence from the opposition

party, has transformed into a broad assault on the Select Committee’s political opponents,

including private citizens.

        36.      The Select Committee’s failure to ever become properly constituted is a

material violation of its authorizing Resolution. A private citizen aggrieved by a material

violation of House rules has a defense against compulsory process. In Yellin v. United States,

374 U.S. 109, 114 (1963), the House Unamerican Affairs Committee failed to follow Rule IV,

which required the committee to weigh certain considerations and act upon the express request

of Yellin, the witness, for executive session because he believed his public testimony would

harm his reputation. The Court held that because the committee had not followed Rule IV,

Yellin could not be convicted for contempt of Congress for failing to answer questions about

his political affiliation and activities. It was not necessary to the Court’s decision in Yellin that

the committee would or should have granted Yellin’s request for private, executive session




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testimony; the holding rests upon the committee’s failure to actually apply Rule IV in

considering his request. As Yellin shows, then, the House’s failure to follow a rule is

particularly significant where a person’s fundamental rights are involved. That is the case here,

where Plaintiffs’ First and Fourth Amendment rights have been implicated by issuance of the

subpoena in light of their pending criminal charges in DC Superior Court.

       37.      Thus, because the Select Committee as it currently stands—and stood at the

time it issued the subpoena in question—is not a duly constituted Select Committee under the

applicable resolution, it has no authority to act by issuing compulsory process against private

entities and citizens. Chairman Thompson’s subpoena are invalid and unenforceable as well as

facially defective having been served after the return date had passed.

                                         Count II
                   (Subpoena Is Not Pertinent to the Authorized Inquiry)

       38.      Plaintiffs repeat, re-allege, and incorporate the allegations in paragraphs 1–37

as if the same were set forth verbatim herein

       39.      The Select Committee’s supposed inquiry focuses on the events of January 6

leading up to the Capitol breach, factors that may have caused individuals to enter the Capitol

without permission, and the statutory process of certifying states’ electoral votes.

       40.      These Plaintiffs were peaceful observers for an event that took place over a few

hours away from the Capitol and earlier on the day of January 6, 2021 and returned to the

Capitol grounds for only a few minutes to peacefully watch the gathering before being arrested

for reason unknown to them at the time. Criminal charges are pending against them presently

with a scheduled trial date of October 3, 2022. The Plaintiffs’ cell phone account information

cannot aid Congress in drafting legislation about the January 6 Capitol breach, its causes, or the

statutory process for transferring power. The same is true of the Plaintiffs’ complete record of



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phone calls and texts, the time spent conferring with various individuals who are political and

personal associates of Plaintiffs, and their location data over a three-month stretch of time, long

before and long after the events of January 6.

        41.      There was no evidence adduced from any Plaintiff, and upon information and

belief there is no evidence from any witness, that these Plaintiffs participated in or planned to

organize an attack on the Capitol. Nor was there any evidence that these Plaintiffs participated

in or planned even a peaceful assembly—a “march,” copying the parlance of numerous public

gatherings held on the National Mall—to the Capitol.

        42.      There was no evidence from these Plaintiffs, and upon information and belief,

there was no evidence from any other witness, that these Plaintiffs participated in or planned

speeches that were directed to, and were likely to, incite any kind of imminent unlawful

activity.

        43.      And there was no evidence from these Plaintiffs, and upon information and

belief there was no evidence from any other witness, that anyone’s speech at the Ellipse Rally

actually led to an atmosphere of hatred, violence, or lawlessness, sufficient to cause otherwise

peaceful attendees to surge to the Capitol and break in.

        44.      The Select Committee claims to have already spoken with over 250 witnesses.

See. https://january6th.house.gov/news/press-releases/thompson-cheney-opening-statements-

rules-committee-meeting-0. Upon information and belief, it has reviewed hundreds of

thousands or millions of documents that it has received from those witnesses. It is far past the

outset of its investigation, and it is long past time for the Select Committee to have adduced

the kind of evidence relating to the Plaintiffs that would suggest they are core subjects of the

investigation, justifying the unusual step of a Congressional subpoena for phone records.




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        45.      There is no reason to believe that the full record of personal and political

contacts of each Plaintiff, extending for nearly two months before the Rally (long before it was

even a remote possibility) and continuing for a month afterwards, is necessary to advance any

congressional purpose.

        46.      It is significant that the T-Mobile Subpoena uniformly asks for three months of

phone records for a large number of people, some of whom touch upon the Committee’s

inquiry for only a day or a few days. Yet the same uniform 3-month request was used for these

Plaintiffs and, apparently, countless others.

        47.      Plaintiffs’ personal account information, and the complete record of their

private phone and text contacts with all of their political and personal acquaintances for three

months, is not pertinent to any inquiry into what happened on January 6, or its causes. Instead,

it is an impermissible attempt to harass the Plaintiffs, identify their close colleagues, and

potentially subject even those individuals and their carriers to subpoenas. Not only does this

chill communication among these friends and political associates, it builds an opposition

research file for the 2022 election cycle for the single party that mans, staffs, and controls the

Select Committee.

        48.      The “phone records” stage of the Select Committee’s inquiry is not pertinent to

the matters the House assigned to the Select Committee. See, e.g., Watkins v. United States,

354 U.S. 178, 207-208 (1957) (the specific demand must be “pertinent to the question under

inquiry”). For this reason alone, the subpoena should be quashed.

                                         Count III
                            (Subpoena Lacks a Legislative Purpose)

        49.      Plaintiffs repeat, re-allege, and incorporate the allegations in paragraphs 1–48

as if the same were set forth verbatim herein



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       50.      A subpoena must not only be pertinent to the matter under investigation, it must

be directed to produce facts relevant to subject on which legislation may be had. Trump v.

Mazars USA, LLP, 140 S.Ct. 2019, 2031, 207 L.Ed.2d 951 (2020) (regardless of whether a

congressionalsubpoena is directed to the Executive branch or a private citizen, it must

“concern [] a subject on which legislation could be had,” and cannot “expose for the sake of

exposure” or serve the purposeof “law enforcement”).

       51.      The House originally suggested that its inquiry into the “causes” of January 6

was intended to support potential legislation relating to Capitol security and the process of

certifying electoral votes on January 6. More recently, it supplemented its list, claiming to be

interested in passing legislation on “election integrity.”

       52.      In response to this Complaint and a stiffening legal response from other targets

of compelled disclosure of purely private affairs, the Select Committee might suggest new

legislativepurposes. But no conceivable area of election-related legislation justifies the

compelled disclosure of purely private affairs especially information that could be used against

defendants in pending criminal cases as is the case here. Congress does not truly lack the

necessary background factual record, and it does not need to threaten private citizens with jail

time so that it can craft wise election legislation. For example, the Select Committee may claim

that we can minimize the risk of another January 6 by banning or limiting rallies such as those

that occurred at the Ellipse and elsewhere, or by banning or limiting criticisms of election

processes after the election. First, any such legislation would need to be within Congress’s

power under the First Amendment, an obstacle to any sort of prior restraint or viewpoint or

content-based restriction on speech or assembly. Second, assuming for the sake of argument

that any such constitutionally permissible legislation can be conceived, it would necessarily




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cover an exceedingly narrow field. Within that field, Congress does not truly lack the

information it needs to legislate. For example, with respect to these Plaintiffs, everything that

happened and was said at the Ellipse Rally—everything needed to craft constitutionally

permissible restrictions on rallies, if they are in fact needed—has long been a matter of public

record. Whether the legislative purpose is Capitol security or election integrity, rally

participants’ purely private communications about lawful, peaceable activity are not part of the

pertinent inquiry.

       53.      Additionally, even if it were true that any of these legislative purposes are

actually being explored by the Select Committee, they do not have any relationship to the

Plaintiffs’ phone records. There is no conceivable link—even a highly attenuated chain—

between, say, the account and payment information from Plaintiffs, and any Capitol security

measures that may be passed. The same is true of the months-long list of personal and political

contacts and associates that the subpoena will yield. Rather than aiding Congress in weighing

some hypothetical legislation, the contact information will be used to further harass Plaintiffs,

chill their association with personal and political acquaintances, build an opposition research

file for 2022 for the party that completely runs the Select Committee without any involvement

from the minority, and chill talented people from lending their skills to the Select Committees’

political opponents. Because “recipients of legislative subpoenas retain their constitutional

rights throughout the course of an investigation,” Mazars, 140 S.Ct. at 2031, this abuse of

Congressional power renders the subpoena unenforceable.

                                         Count IV
                     (Subpoena Violates the First Amendment Privilege)

       54.      Plaintiffs repeat, re-allege, and incorporate the allegations in paragraphs 1–53

as if the same were set forth verbatim herein.



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       55.      The First Amendment creates a “right to associate for the purpose of speaking,”

Rumsfeld v. FAIR, 547 U.S. 47, 68 (2006), and “compelled disclosure of affiliation with

groups engaged in advocacy may constitute as effective a restraint on freedom of association

as [other] forms of governmental action.” NAACP v. Alabama ex rel. Patterson, 357 U.S. 449,

462 (1958); Bates v. Little Rock, 361 U.S. 516, 523 (1960) (“It is hardly a novel perception

that compelled disclosure of affiliation with groups engaged in advocacy may constitute an

effective restraint onfreedom of association.”) (brackets, ellipsis, & citation omitted).

       56.      In cases of compelled disclosure, the Government must meet at least “exacting

scrutiny,” meaning that it must articulate a sufficiently important interest and show that the

disclosure requirement is both substantially related to, and narrowly tailored to serve, that

interest. Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 210 L. Ed. 2d 716 (2021).

“Exacting scrutiny is triggered by state action which may have the effect of curtailing the

freedom to associate, and by the possible deterrent effect of disclosure.” Id. at 2388

(quotations and citationsomitted).

       57.      “Narrow tailoring is crucial where First Amendment activity is chilled–even if

indirectly– ‘[b]ecause First Amendment freedoms need breathing space to survive.’” Id. at

2384 (citing NACCP v. Button, 371 U.S. 415, 433 (1963)).

       58.      The First Amendment Privilege does not only provide protection against

Congressional legislation or against local abuses of authority, it provides protection against

Congressional attacks on First Amendment association via investigations. Gibson v. Florida

Legislative Investigation Committee, 372 U.S. 539 (1963) (applying the First Amendment,

holding that the legislature could not seek the membership list of a legitimate organization

because it had no subordinating interest which was compelling); Watkins v. United States, 354




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U.S. 178, 197-198(1957) (“the mere summoning of a witness and compelling him to testify,

against his will, about his beliefs, expressions or associations is a measure of governmental

interference” and can chill the witness and others from future speech and association).

       59.      A subpoena to indiscriminately force disclosure of Plaintiffs’ personal and

political associates over a three-month period are precisely the types of invasive inquiries that

the SupremeCourt has previously recognized can chill the exercise of First Amendment

freedoms.

       60.      Further, this is not a situation such as Bonta, where the government claimed it

would comply with a legal duty not to disclose the compelled information. Here, the Select

Committee has publicized much of what has been disclosed and has been active in the media

in attempting to whip up sentiment against witnesses. There is no reason to believe that the

information produced will be kept private or used only for limited purposes. Rather, the

Plaintiffs’personal and political contacts may well find that they are the next to receive

subpoenas.

       61.      For the reasons discussed above, the subpoena does not appear to advance any

legitimate government informational interest. And if the Select Committee has any remnant of

an informational interest in learning these Plaintiffs’ personal and political contacts, the three-

month period of inquiry, apparently uniformly applied to all witnesses regardless of their role

or connection to the investigation, is by definition not narrowly tailored to remnant of an

interest. For that reason, the subpoena violates the Plaintiffs’ First Amendment privilege and

should not be enforced.

                                          Count V
                          (Subpoena Violates the Fourth Amendment)

       62.      Plaintiffs repeat, re-allege, and incorporate the allegations in paragraphs 1–61



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as if the same were set forth verbatim herein.

       63.      Under the Fourth Amendment, Plaintiffs have a reasonable expectation of

privacy in information about who their personal and political contacts are, and how long they

spoke or interacted with each of them. That is, the Plaintiffs and the public at large do not

expect that Congress can simply obtain from their carriers, and then potentially disclose, their

entire personal and political contact history and location history over a three-month period.

       64.      Furthermore, since Plaintiffs are criminal defendants in a pending prosecution

and Congress is most certainly a branch of the same Federal Government prosecuting

Plaintiffs, Plaintiffs have a Fourth Amendment right to be free from unreasonable searches and

seizures. Here, the now-expired subpoena for three months’ worth of Plaintiffs’ records is

unreasonable.

       65.      Congress violated that reasonable expectation of privacy by indiscriminately

seeking a mass of phone and text records that cannot have anything to do with the Capitol

breach, the Ellipse Rally, politics, or Plaintiffs’ pending criminal case.

       66.      The subpoena should not be enforced as violative of the Fourth Amendment.

See Carpenter v. United States, 138 S.Ct. 2206, 201 L.Ed.2d 507 (2018).

                                    Count VI
(The Subpoena Violates the Stored Communications Act to the Extent it Seeks Content)

       67.      Plaintiffs repeat, re-allege, and incorporate the allegations in paragraphs 1–66

as if the same were set forth verbatim herein.

       68.      Here, the Subpoena may seek the actual content of communications, such as the

content of texts transmitted by the carrier. They seek “all call, message (SMS & MMS),

Internet Protocol (“IP”), and data-connection detail records associated with the Phone

Numbers…” If contents of texts are “message… records” that are “associated with” the phone



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number of a Plaintiff, then the subpoena does in fact request content.

        69.      Upon information and belief, the Select Committee previously asked Defendant

T-Mobile to preserve a copy of the content of Plaintiffs’ communications until further notice.

On information and belief, the Select Committee would not have made this request that content

be copied and preserved if it did not intend to subpoena content.

        70.      Under the Stored Communications Act (“SCA”), Congress has no authority to

subpoena content from a carrier. See 18 U.S.C. §2702(a) and (b). Although content can be

disclosed to a “governmental entity” under specific, narrow circumstances, Congress is not a

“governmental entity” because, as the legislative branch, it is not a “department or agency of

the United States.” 18 U.S.C. §2711(4). And no other provision in the SCA allows Congress to

accesscontent.

        71.      Accordingly, to the extent the Subpoena seeks content of the Plaintiffs’

communications that is held by Defendant T-Mobile, it should be declared invalid, and

Defendant should be enjoined from producing any such content.

                                     Count VII
 (Congress Violated the Stored Communications Act by Demanding a Copy Be Made of
                                 the Relevant Data)

        72.      Plaintiffs repeat, re-allege, and incorporate the allegations in paragraphs 1–71

as if the same were set forth verbatim herein.

        73.      The Special Committee requested that Defendant and other carriers make a

backup copy of content and other account data in late August or early September 2021. At that

time, upon information and belief, T-Mobile had one year of data regarding Plaintiffs’ texts,

calls, and location.

        74.      Under the Stored Communications Act, Congress had no authority to make




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such a request. Only a government entity can request backup and preservation of account data.

18 U.S.C. §2703(f). That request can be honored for no more than 90 days, and then may be

renewed for an additional 90 days upon the government entity’s request. Id. Congress is not a

government entity under the SCA.

          75.      Upon information and belief, Congress, knowing it lacked authority, attempted

to coerce Defendant and other entities into silence by requesting that they not tell account

holders of the request.

          76.      Upon information and belief, Defendant made such a backup copy of Plaintiffs’

data under pressure from Congress in late August or early September 2021. As a result of that

action, data that Plaintiffs reasonably expected would otherwise have been deleted after one

year, in the ordinary course of T-Mobile’s business, was preserved. This included data from

November 1, 2020 to January 31, 2021, as more than one year before the subpoena was

served.

          77.      For the reasons set forth in Counts I to VI, Congress had no authority to request

Plaintiffs’ data at all, with or without a further request to make a backup copy. The only

purpose of a backup copy is to provide the means for Congress to obtain what it cannot

lawfully receive. To the extent such a copy was made in August or September 2021, it allowed

Congress to obtain information within the Subpoena window that would otherwise have been

destroyed. That data should now be destroyed, and Plaintiffs’ call, text, and location data

should not be preserved other than for the one-year period T-Mobile observes in the ordinary

course of business.




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                                        Prayer for Relief

       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their

favor and against the Defendant as follows:

       1. A declaratory judgment that the subpoena is invalid and unenforceable;

       2. A permanent injunction quashing the subpoena and future similar subpoenas for

           Plaintiffs’ information;

       3. A permanent injunction prohibiting Defendant from disclosing, revealing,

           delivering, or producing the requested information, or otherwise complying with

           the subpoena or future similar for Plaintiffs’ information;

       4. A permanent injunction requiring Defendant to destroy and refrain from producing

           any copy of Plaintiffs’ account data that was made, or that would be produced, in

           violation of the Stored Communications Act;

       5. Plaintiffs’ reasonable costs and expenses, including attorneys’ fees; and

       6. All other preliminary and permanent relief to which Plaintiffs are entitled.


Dated: June 9, 2022                        Respectfully submitted,


                                              VAN DER VEEN, HARTSHORN, LEVIN


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